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            4. Contraindications and Precautions

 Updates

 Major changes to the best practice guidance in this section include 1) enhancement of
 the definition of a “precaution” to include any condition that might confuse diagnostic
 accuracy and 2) recommendation to vaccinate during a hospitalization if a patient is
 not acutely moderately or severely ill.


 General Principles
 National standards for pediatric vaccination practices have been established and include
 descriptions of valid contraindications and precautions to vaccination (2). Persons who
 administer vaccines should screen patients for contraindications and precautions to the
 vaccine before each dose of vaccine is administered (Table 4-1). Screening is facilitated
 by consistent use of screening questionnaires, which are available from certain state
 vaccination programs and other sources (e.g., the Immunization Action Coalition,
 http://www.immunize.org).


 Contraindications
 Contraindications (conditions in a recipient that increases the risk for a serious adverse
 reaction) to vaccination are conditions under which vaccines should not be
 administered. Because the majority of contraindications are temporary, vaccinations
 often can be administered later when the condition leading to a contraindication no
 longer exists. A vaccine should not be administered when a contraindication is present;
 for example, MMR vaccine should not be administered to severely immunocompromised
 persons (1). However, certain conditions are commonly misperceived as
 contraindications (i.e., are not valid reasons to defer vaccination).


 Severely immunocompromised persons generally should not receive live vaccines
 (3). Because of the theoretical risk to the fetus, women known to be pregnant
 generally should not receive live, attenuated virus vaccines (4).




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 Persons who experienced encephalopathy within 7 days after administration of a
 previous dose of pertussis- containing vaccine not attributable to another
 identifiable cause should not receive additional doses of a vaccine that contains
 pertussis (4,5). Severe Combined Immunodeficiency (SCID) disease and a history of
 intussusception are both contraindications to the receipt of rotavirus vaccines (6).



 Precautions
 A precaution is a condition in a recipient that might increase the risk for a serious
 adverse reaction, might cause diagnostic confusion, or might compromise the ability of
 the vaccine to produce immunity (e.g., administering measles vaccine to a person with
 passive immunity to measles from a blood transfusion administered up to 7 months
 prior) (7). A person might experience a more severe reaction to the vaccine than would
 have otherwise been expected; however, the risk for this happening is less than the risk
 expected with a contraindication. In general, vaccinations should be deferred when a
 precaution is present. However, a vaccination might be indicated in the presence of a
 precaution if the benefit of protection from the vaccine outweighs the risk for an
 adverse reaction.

 The presence of a moderate or severe acute illness with or without a fever is a
 precaution to administration of all vaccines (Table 4-1). The decision to administer or
 delay vaccination because of a current or recent acute illness depends on the severity of
 symptoms and etiology of the condition. The safety and efficacy of vaccinating persons
 who have mild illnesses have been documented (8-11). Vaccination should be deferred
 for persons with a moderate or severe acute illness. This precaution avoids causing
 diagnostic confusion between manifestations of the underlying illness and possible
 adverse effects of vaccination or superimposing adverse effects of the vaccine on the
 underlying illness. After they are screened for contraindications, persons with moderate
 or severe acute illness should be vaccinated as soon as the acute illness has improved.
 Studies indicate that failure to vaccinate children with minor illnesses can impede
 vaccination efforts (12–14). Among persons whose compliance with medical care
 cannot be ensured, use of every opportunity to administer appropriate vaccines is
 critical.




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 Hospitalization should be used as an opportunity to provide recommended
 vaccinations. Health-care facilities are held to standards of offering influenza vaccine
 for hospitalized patients, so providers are incentivized to vaccinate these patients at
 some point during hospitalization (15). Likewise, patients admitted for elective
 procedures will not be acutely ill during all times during their hospitalization.


 Most studies that have explored the effect of surgery or anesthesia on the immune
 system were observational, included only infants and children, and were small and
 indirect, in that they did not look at the immune effect on the response to vaccination
 specifically (16-35). They do not provide convincing evidence that recent anesthesia or
 surgery significantly affect response to vaccines. Current, recent, or upcoming
 anesthesia/surgery/hospitalization is not a contraindication to vaccination, but certain
 factors might lead a provider to consider current, recent, or upcoming
 anesthesia/surgery/hospitalization as a precaution (16-35). Efforts should be made to
 ensure vaccine administration during the hospitalization or at discharge. For patients
 who are deemed moderately or severely ill throughout the hospitalization, vaccination
 should occur at the earliest opportunity (i.e., during immediate post-hospitalization
 follow-up care, including home or office visits) when patients’ clinical symptoms have
 improved.

 A personal or family history of seizures is a precaution for MMRV vaccination; this is
 because a recent study found an increased risk for febrile seizures in children 12-23
 months who receive MMRV compared with MMR and varicella vaccine (36).


 Neither Contraindications Nor Precautions
 Clinicians or other health-care providers might misperceive certain conditions or
 circumstances as valid contraindications or precautions to vaccination when they
 actually do not preclude vaccination (2) (Table 4-2). These misperceptions result in
 missed opportunities to administer recommended vaccines (37).

 Routine physical examinations and procedures (e.g., measuring temperatures) are not
 prerequisites for vaccinating persons who appear to be healthy. The provider should ask
 the parent or guardian if the child is ill. If the child has a moderate or severe illness, the
 vaccination should be postponed.


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 TABLE 4-1. Contraindications and precautions(a) to commonly used vaccines
  Vaccine         Citation Contraindications                  Precautions

  DT, Td          (4)          Severe allergic reaction       GBS <6 weeks after previous dose of
                               (e.g., anaphylaxis) after      tetanus-toxoid–containing vaccine
                               a previous dose or to a        History of Arthus-type
                               vaccine component              hypersensitivity reactions after a
                                                              previous dose of diphtheria-toxoid—
                                                              containing or tetanus-toxoid–
                                                              containing vaccine; defer vaccination
                                                              until at least 10 years have elapsed
                                                              since the last tetanus-toxoid-
                                                              containing vaccine
                                                              Moderate or severe acute illness with
                                                              or without fever

  DTaP            (38)         Severe allergic reaction       Progressive neurologic disorder,
                               (e.g., anaphylaxis) after      including infantile spasms,
                               a previous dose or to a        uncontrolled epilepsy, progressive
                               vaccine component              encephalopathy; defer DTaP until
                               Encephalopathy (e.g.,          neurologic status clarified and
                               coma, decreased level of       stabilized
                               consciousness,
                               prolonged seizures), not       GBS <6 weeks after previous dose of
                               attributable to another        tetanus-toxoid–containing vaccine
                               identifiable cause,            History of Arthus-type
                               within 7 days of               hypersensitivity reactions after a
                               administration of              previous dose of diphtheria-toxoid–
                               previous dose of DTP or        containing or tetanus-toxoid–
                               DTaP                           containing vaccine; defer vaccination
                                                              until at least 10 years have elapsed
                                                              since the last tetanus-toxoid–
                                                              containing vaccine
                                                              Moderate or severe acute illness with
                                                              or without fever

  Hepatitis A     (39)         Severe allergic reaction       Moderate or severe acute illness with
                               (e.g., anaphylaxis) after      or without fever
                               a previous dose or to a
                               vaccine component

  Hepatitis B     (40)         Severe allergic reaction Moderate or severe acute illness with
                               (e.g., anaphylaxis) after or without fever
                               a previous dose or to a
                               vaccine component
                               Hypersensitivity to yeast

  Hib             (41)         Severe allergic reaction       Moderate or severe acute illness with
                               (e.g., anaphylaxis) after      or without fever

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                               a previous dose or to a
                               vaccine component
                               Age <6 weeks

  HPV             (42)         Severe allergic reaction       Moderate or severe acute illness with
                               (e.g., anaphylaxis) after      or without fever
                               a previous dose or to a
                               vaccine component,
                               including yeast


  IIV             (43)         Severe allergic reaction       GBS <6 weeks after a previous dose of
                               (e.g., anaphylaxis) after      influenza vaccine
                               previous dose of               Moderate or severe acute illness with
                               influenza vaccine or to        or without fever
                               vaccine component.             Egg allergy other than hives, e.g.,
                                                              angioedema, respiratory distress,
                                                              lightheadedness, recurrent emesis; or
                                                              required epinephrine or another
                                                              emergency medical intervention (IIV
                                                              may be administered in an inpatient
                                                              or outpatient medical setting and
                                                              under the supervision of a health care
                                                              provider who is able to recognize and
                                                              manage severe allergic conditions).


  IPV             (44)         Severe allergic reaction       Pregnancy
                               (e.g., anaphylaxis) after      Moderate or severe acute illness with
                               a previous dose or to a        or without fever
                               vaccine component

  LAIV(b)         (43)         Severe allergic reaction       GBS <6 weeks after a previous dose of
                               (e.g., anaphylaxis) after      influenza vaccine
                               a vaccine component            Asthma in persons aged 5 years old or
                               Concomitant use of             older
                               aspirin or aspirin-            Medical conditions which might
                               containing medication          predispose to higher risk of
                               in children and                complications attributable to
                               adolescents                    influenza(c)
                               LAIV4 should not be            Moderate of severe acute illness with
                               administered to persons        or without fever
                               who have taken
                               influenza antiviral
                               medications within the
                               previous 48 hours.

                               Pregnancy


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  MenACWY         (45)         Severe allergic reaction       Moderate or severe acute illness with
                               (e.g., anaphylaxis) after      or without fever
                               a previous dose or to a
                               vaccine component

  MenB            (46,47)      Severe allergic reaction       Moderate or severe acute illness with
                               (e.g., anaphylaxis) after      or without fever
                               a previous dose or to a        Pregnancy
                               vaccine component

  MMR(d),(e)      (1)          Severe allergic reaction       Recent (≤11 months) receipt of
                               (e.g., anaphylaxis) after      antibody-containing blood product
                               a previous dose or to a        (specific interval depends on
                               vaccine component              product)
                               Pregnancy                      History of thrombocytopenia or
                               Known severe                   thrombocytopenic purpura
                               immunodeficiency (e.g.,        Need for tuberculin skin testing or
                               from hematologic and           interferon-gamma release assay
                               solid tumors, receipt of       (IGRA) testing(h)
                               chemotherapy,                  Moderate or severe acute illness with
                               congenital                     or without fever
                               immunodeficiency,
                               long-term
                               immunosuppressive
                               therapy(f) or patients
                               with HIV infection who
                               are severely
                               immunocompromised)
                               Family history of altered
                               immunocompetence(g)

  MPSV4           (48)         Severe allergic reaction       Moderate or severe acute illness with
                               (e.g., anaphylaxis) after      or without fever
                               a previous dose or to a
                               vaccine component

  PCV13           (49)         Severe allergic reaction       Moderate or severe acute illness with
                               (e.g., anaphylaxis) after      or without fever
                               a previous dose of
                               PCV13 or any
                               diphtheria-toxoid–
                               containing vaccine or
                               to a component of a
                               vaccine (PCV13 or any
                               diphtheria-toxoid–
                               containing vaccine),
                               including yeast




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  PPSV23          (50)         Severe allergic reaction       Moderate or severe acute illness with
                               (e.g., anaphylaxis) after      or without fever
                               a previous dose or to a
                               vaccine component

  RIV             (43)         Severe allergic reaction       GBS <6 weeks after a previous dose of
                               (e.g., anaphylaxis) to         influenza vaccine
                               any component of the           Moderate or severe acute illness with
                               vaccine                        or without fever

  Rotavirus       (6)          Severe allergic reaction       Altered immunocompetence other
                               (e.g., anaphylaxis) after      than SCID
                               a previous dose or to a        Chronic gastrointestinal disease(1)
                               vaccine component              Spina bifida or bladder exstrophy(i)
                               SCID                           Moderate or severe acute illness with
                               History of                     or without fever
                               intussusception




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  Tdap            (51)         Severe allergic reaction       GBS <6 weeks after a previous dose of
                               (e.g., anaphylaxis) after      tetanus-toxoid–containing vaccine
                               a previous dose or to a        Progressive or unstable neurological
                               vaccine component              disorder, uncontrolled seizures, or
                               Encephalopathy (e.g.,          progressive encephalopathy until a
                               coma, decreased level of       treatment regimen has been
                               consciousness,                 established and the condition has
                               prolonged seizures), not       stabilized
                               attributable to another        History of Arthus-type
                               identifiable cause,            hypersensitivity reactions after a
                               within 7 days of               previous dose of diphtheria-toxoid—
                               administration of              containing or tetanus-toxoid–
                               previous dose of DTP,          containing vaccine; defer vaccination
                               DTaP, or Tdap                  until at least 10 years have elapsed
                                                              since the last tetanus-toxoid–
                                                              containing vaccine
                                                              Moderate or severe acute illness with
                                                              or without fever

  Varicella(d),(e (52)         Severe allergic reaction       Recent (≤11 months) receipt of
  )                            (e.g., anaphylaxis) after      antibody-containing blood product
                               a previous dose or to a        (specific interval depends on
                               vaccine component              product)
                               Known severe                   Moderate or severe acute illness with
                               immunodeficiency (e.g.,        or without fever
                               from hematologic and
                               solid tumors, receipt of       Receipt of specific antiviral drugs
                               chemotherapy,                  (acyclovir, famciclovir, or
                               congenital                     valacyclovir) 24 hours before
                               immunodeficiency,              vaccination (avoid use of these
                               long-term                      antiviral drugs for 14 days after
                               immunosuppressive              vaccination)
                               therapy(f) or patients
                               with HIV infection who         Use of aspirin or aspirin-containing
                               are severely                   products(j)
                               immunocompromised)(e
                               )

                               Pregnancy
                               Family history of altered
                               immunocompetence(g)




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  Zoster          (53)         Severe allergic reaction       Moderate or severe acute illness with
                               (e.g., anaphylaxis) after      or without fever
                               a previous dose or to a
                               vaccine component              Receipt of specific antiviral drugs
                               Known severe                   (acyclovir, famciclovir, or
                               immunodeficiency (e.g.,        valacyclovir) 24 hours before
                               from hematologic and           vaccination (avoid use of these
                               solid tumors, receipt of       antiviral drugs for 14 days after
                               chemotherapy,                  vaccination, for zoster vaccine live
                               congenital                     only)
                               immunodeficiency,
                               long-term
                               immunosuppressive
                               therapy(f) or patients
                               with HIV infection who
                               are severely
                               immunocompromised)(e)
                               Pregnancy




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 Abbreviations: DT = diphtheria and tetanus toxoids; DTaP = diphtheria and tetanus toxoids and acellular pertussis;
 DTP = diphtheria toxoid, tetanus toxoid, and pertussis; GBS = Guillain-Barré syndrome; Hib = Haemophilus influenzae
 type b; HIV = human immunodeficiency virus; HPV = human papillomavirus; IIV = inactivated influenza vaccine; IPV =
 inactivated poliovirus; LAIV = live, attenuated influenza vaccine; MenACWY = quadrivalent meningococcal conjugate
 vaccine; MMR = measles, mumps, and rubella; MPSV4 = quadrivalent meningococcal polysaccharide vaccine; PCV13 =
 pneumococcal conjugate vaccine; PPSV23= pneumococcal polysaccharide vaccine; SCID = severe combined
 immunodeficiency; RIV=recombinant influenza vaccine; Td = tetanus and diphtheria toxoids; Tdap = tetanus toxoid,
 reduced diphtheria toxoid, and acellular pertussis.
 (a) Events or conditions listed as precautions should be reviewed carefully. Benefits of and risks for administering a

 specific vaccine to a person under these circumstances should be considered. If the risk from the vaccine is believed to
 outweigh the benefit, the vaccine should not be administered. If the benefit of vaccination is believed to outweigh the risk,
 the vaccine should be administered. Whether and when to administer DTaP to children with proven or suspected
 underlying neurologic disorders should be decided on a case-by-case basis.
 (b) In addition, ACIP recommends LAIV not be used for pregnant women, immunosuppressed persons, and children aged

 2-4 years who have asthma or who have had a wheezing episode noted in the medical record within the past 12 months, or
 for whom parents report that a health-care provider stated that they had wheezing or asthma within the last 12 months.
 LAIV should not be administered to persons who have taken influenza antiviral medications within the previous 48 hours.
 Persons who care for severely immunosuppressed persons who require a protective environment should not receive LAIV,
 or should avoid contact with such persons for 7 days after receipt.
 (c) Source: (52).

 (d) HIV-infected children may receive varicella vaccine if CD4+ T-lymphocyte count is ≥15% and should receive MMR

 vaccine if they are aged ≥12 months and do not have evidence of current severe immunosuppression (i.e., individuals aged
 ≤5 years must have CD4+T lymphocyte [CD4] percentages ≥15% for ≥6 months; and individuals aged >5 years must have
 CD4+percentages ≥15% and CD4+≥200 lymphocytes/mm3 for ≥6 months) or other current evidence of measles, rubella,
 and mumps immunity. In cases when only CD4+cell counts or only CD4+percentages are available for those older than
 age 5 years, the assessment of severe immunosuppression can be based on the CD4+values (count or percentage) that are
 available. In cases when CD4+percentages are not available for those aged ≤5 years, the assessment of severe
 immunosuppression can be based on age-specific CD4+counts at the time CD4+counts were measured; i.e., absence of
 severe immunosuppression is defined as ≥6 months above age-specific CD4+count criteria: CD4+count >750
 lymphocytes/mm3 while aged ≤12 months and CD4+count ≥500 lymphocytes/mm3 while aged 1 through 5 years.
 Sources: (1,50).
 (e) MMR and varicella-containing vaccines can be administered on the same day. If not administered on the same day,

 these vaccines should be separated by at least 28 days.
 (f) A substantially immunosuppressive steroid dose is considered to be ≥2 weeks of daily receipt of 20 mg or 2 mg/kg body

 weight of prednisone or equivalent.
 (g) family history of congenital or hereditary immunodeficiency in first-degree relatives (e.g., parents and siblings), unless

 the immune competence of the potential vaccine recipient has been substantiated clinically or verified by a laboratory
 (h) If active tuberculosis is suspected, MMR should be delayed. Measles vaccination might suppress tuberculin reactivity

 temporarily. Measles-containing vaccine can be administered on the same day as tuberculin skin or IGRA testing. If
 testing cannot be performed until after the day of MMR vaccination, the test should be postponed for ≥4 weeks after the
 vaccination. If an urgent need exists to skin test or IGRA, do so with the understanding that reactivity might be reduced
 by the vaccine.
 (i) For details, see (55).

 (j) No adverse events associated with the use of aspirin or aspirin-containing products after varicella vaccination have been

 reported; however, the vaccine manufacturer recommends that vaccine recipients avoid using aspirin or aspirin-
 containing products for 6 weeks after receiving varicella vaccines because of the association between aspirin use and Reye
 syndrome after varicella. Vaccination with subsequent close monitoring should be considered for children who have
 rheumatoid arthritis or other conditions requiring therapeutic aspirin. The risk for serious complications associated with
 aspirin is likely to be greater in children in whom natural varicella develops than it is in children who receive the vaccine
 containing attenuated VZV. No association has been documented between Reye syndrome and analgesics or antipyretics
 that do not contain aspirin.”




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  TABLE 4-2. Conditions incorrectly perceived as contraindications or
  precautions to vaccination (i.e., vaccines may be given under these
  conditions)
  Vaccine             Conditions commonly misperceived as
                      contraindications or precautions
  General for all            Mild acute illness with or without fever
  vaccines, including
  DTaP, pediatric            Lack of previous physical examination in well-appearing
  DT, adult Td,              person
  adolescent-adult           Current antimicrobial therapy(a)
  Tdap, IPV, MMR,            Convalescent phase of illness
  Hib, hepatitis A,          Preterm birth (hepatitis B vaccine is an exception in certain
  hepatitis B,               circumstances)(b)
  varicella, rotavirus,      Recent exposure to an infectious disease
  PCV13, IIV, LAIV,          History of penicillin allergy, other nonvaccine allergies,
  PPSV23,                    relatives with allergies, or receiving allergen extract
  MenACWY, MPSV4,            immunotherapy
  HPV, and herpes            History of GBS(c)
  zoster
  DTaP                       Fever within 48 hours after vaccination with a previous dose of
                             DTP or DTaP
                             Collapse or shock-like state (i.e., hypotonic hyporesponsive
                             episode) within 48 hours after receiving a previous dose of
                             DTP/DTaP
                             Seizure ≤3 days after receiving a previous dose of DTP/DTaP
                             Persistent, inconsolable crying lasting ≥3 hours within 48
                             hours after receiving a previous dose of DTP/DTaP
                             Family history of seizures
                             Family history of sudden infant death syndrome
                             Family history of an adverse event after DTP or DTaP
                             administration
                             Stable neurologic conditions (e.g., cerebral palsy, well-
                             controlled seizures, or developmental delay)
  Hepatitis B                Pregnancy
                             Autoimmune disease (e.g., systemic lupus erythematosus or
                             rheumatoid arthritis)
  HPV                        Immunosuppression
                             Previous equivocal or abnormal Papanicolaou test
                             Known HPV infection
                             Breastfeeding
                             History of genital warts
  IIV                        Nonsevere (e.g., contact) allergy to latex, thimerosal, or egg
                             Concurrent administration of Coumadin (generic: warfarin) or
                             aminophylline
  IPV                        Previous receipt of ≥1 dose of oral polio vaccine




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 LAIV                      Health-care providers that see patients with chronic diseases
                           or altered immunocompetence (an exception is providers for
                           severely immunocompromised patients requiring care in a
                           protected environment)
                           Breastfeeding
                           Contacts of persons with chronic disease or altered
                           immunocompetence (an exception is contacts of severely
                           immunocompromised patients requiring care in a protected
                           environment)
 MMR(d),(e)                Positive tuberculin skin test
                           Simultaneous tuberculin skin or interferon-gamma release
                           assay (IGRA) testing(f)
                           Breastfeeding
                           Pregnancy of recipient’s mother or other close or household
                           contact
                           Recipient is female of child-bearing age
                           Immunodeficient family member or household contact
                           Asymptomatic or mildly symptomatic HIV infection
                           Allergy to eggs
 PPSV23                    History of invasive pneumococcal disease or pneumonia
 Rotavirus                 Prematurity
                           Immunosuppressed household contacts
                           Pregnant household contacts
 Tdap                      History of fever of ≥40.5°C (≥105°F) for <48 hours after
                           vaccination with a previous dose of DTP or DTaP
                           History of collapse or shock-like state (i.e., hypotonic
                           hyporesponsive episode) within 48 hours after receiving a
                           previous dose of DTP/DTaP
                           History of seizure <3 days after receiving a previous dose of
                           DTP/DTaP
                           History of persistent, inconsolable crying lasting >3 hours
                           within 48 hours after receiving a previous dose of DTP/DTaP
                           History of extensive limb swelling after DTP/DTaP/Td that is
                           not an Arthus-type reaction
                           History of stable neurologic disorder
                           History of brachial neuritis
                           Latex allergy that is not anaphylactic
                           Breastfeeding
                           Immunosuppression
 Varicella                 Pregnancy of recipient’s mother or other close or household
                           contact
                           Immunodeficient family member or household contact(g)
                           Asymptomatic or mildly symptomatic HIV infection
                           Humoral immunodeficiency (e.g., agammaglobulinemia)




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 Zoster                         Therapy with low-dose methotrexate (≤0.4 mg/kg/week),
                                azathioprine (≤3.0 mg/kg/day), or 6-mercaptopurine (≤1.5
                                mg/kg/day) for treatment of rheumatoid arthritis, psoriasis,
                                polymyositis, sarcoidosis, inflammatory bowel disease, or other
                                conditions
                                Health-care providers of patients with chronic diseases or
                                altered immunocompetence
                                Contacts of patients with chronic diseases or altered
                                immunocompetence
                                Unknown or uncertain history of varicella in a U.S.-born
                                person
 Abbreviations: DT = diphtheria and tetanus toxoids; DTP = diphtheria toxoid, tetanus toxoid, and pertussis;
 DTaP = diphtheria and tetanus toxoids and acellular pertussis; GBS = Guillain-Barré syndrome; HBsAg = hepatitis
 B surface antigen; Hib = Haemophilus influenzae type b; HIV = human immunodeficiency virus; HPV = human
 papillomavirus; IIV = inactivated influenza vaccine; IPV = inactivated poliovirus; LAIV = live, attenuated influenza
 vaccine; MenACWY = quadrivalent meningococcal conjugate vaccine; MMR = measles, mumps, and rubella;
 MPSV4 = quadrivalent meningococcal polysaccharide vaccine; PCV = pneumococcal conjugate vaccine; PPSV23=
 pneumococcal polysaccharide vaccine; Td = tetanus and diphtheria toxoids; Tdap = tetanus toxoid, reduced
 diphtheria toxoid, and acellular pertussis.
 (a) Antibacterial drugs might interfere with Ty21a oral typhoid vaccine, and certain antiviral drugs might interfere

 with varicella-containing vaccines and LAIV4.
 (b) Hepatitis B vaccination should be deferred for infants weighing <2,000 g if the mother is documented to be

 HBsAg negative. Vaccination should commence at chronological age 1 month or at hospital discharge. For infants
 born to HBsAg-positive women, hepatitis B immune globulin and hepatitis B vaccine should be administered
 within 12 hours after birth, regardless of weight.
 (c) An exception is Guillain-Barré syndrome within 6 weeks of a dose of influenza vaccine or tetanus-toxoid–

 containing vaccine, which are precautions for influenza vaccines and tetanus-toxoid containing vaccines,
 respectively.
 (d) MMR and varicella vaccines can be administered on the same day. If not administered on the same day, these

 vaccines should be separated by at least 28 days.
 (e) HIV-infected children should receive immune globulin after exposure to measles. HIV-infected children can

 receive varicella and measles vaccine if CD4+ T-lymphocyte count is >15%. (54).
 (f) Measles vaccination might suppress tuberculin reactivity temporarily. Measles-containing vaccine can be

 administered on the same day as tuberculin skin or IGRA testing. If testing cannot be performed until after the day
 of MMR vaccination, the test should be postponed for at least 4 weeks after the vaccination. If an urgent need
 exists to skin test or IGRA, do so with the understanding that reactivity might be reduced by the vaccine.
 (g) If a vaccinee experiences a presumed vaccine-related rash 7-25 days after vaccination, the person should avoid

 direct contact with immunocompromised persons for the duration of the rash.




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